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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNAN DIVISION

IN RE:                        *                              CHAPTER 7
                              *
FALCON AVIATION ACADEMY, LLC, *                              CASE NO. 20-11240-WHD
                              *
          DEBTOR.             *

                   NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
                    AND RESCHEDULED MEETING OF CREDITORS

        Theo Davis Mann having rejected the appointment as interim trustee, the United States
Trustee gives notice that, pursuant to 11 U.S.C. § 701, Griffin E. Howell, III, is appointed as
interim trustee in this case and is designated to preside over the meeting of creditors. The trustee
shall serve under the blanket bond heretofore approved. Unless creditors at the first meeting of
creditors held pursuant to 11 U.S.C. § 341(a) elect another trustee, the interim trustee appointed
herein shall serve as trustee without further appointment or qualification under the same bond.
        The name and address of the interim trustee and the date, time, and location of the
rescheduled meeting of creditors are as follows:

Griffin E. Howell, III                  October 28, 2020, at 9:00 a.m.
P.O. Box 2271
Griffin, GA 30224                       The meeting will be held by telephone conference call.
E-mail: newhow@bellsouth.net            To attend, dial: 866-782-1103.
Phone: (770) 227-4015                   When prompted, enter participant code: 7840089#.



Notice given by:                      NANCY J. GARGULA
                                      UNITED STATES TRUSTEE, REGION 21

                                      s/ Jeneane Treace
                                      R. Jeneane Treace
                                      Georgia Bar No. 716620
                                      United States Department of Justice
                                      Office of the United States Trustee
                                      362 Richard B. Russell Federal Building
                                      75 Ted Turner Drive, S.W.
                                      Atlanta, Georgia 30303
                                      (404) 331-4437
                                      jeneane.treace@usdoj.gov
